895 F.2d 1420
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Ozzie Lee MATTHEWS, Petitioner,v.DEPARTMENT OF DEFENSE, Respondent.
    No. 89-3332.
    United States Court of Appeals, Federal Circuit.
    Jan. 11, 1990.
    
      Before RICH and MAYER, Circuit Judges, and PETER BEER, District Judge*:
      PER CURIAM:
    
    Judgment
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         District Judge Peter Beer of the Eastern District of Louisiana, sitting by designation
      
    
    